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 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-0406-GEB
12                                Plaintiff,             STIPULATION AND [PROPOSED] ORDER TO
                                                         CONTINUE STATUS CONFERENCE
13                          v.
                                                         Date: May 5, 2017
14   ROD SIMPSON and SARAH BASTIN,                       Time: 9:00 a.m.
                                                         Judge: Hon. Garland E. Burrell, Jr.
15                                Defendants.
16

17          The United States of America, through its undersigned counsel, and defendants Rod Simpson and

18 Sarah Bastin, through their separate counsel of record indicated below, stipulate that the status conference

19 currently set for April 28, 2017, be continued to May 5, 2017, at 9:00 a.m.

20          Counsel for both defendants require a brief period of additional time—one week in this request—

21 to review the discovery and evidence in this case, and to review the proposed plea agreements and discuss

22 the relevant United States Sentencing Guidelines calculations and sentencing factors with their clients.

23 Counsel for both defendants believe that the failure to grant a continuance in this case would deny them

24 reasonable time needed for effective preparation, taking into account the exercise of due diligence. The

25 government does not object to this brief continuance.

26          Based on the foregoing, the parties stipulate that the status conference currently scheduled for

27 April 28, 2017, be continued to May 5, 2017, at 9:00 a.m. The parties further agree that time under the

28 Speedy Trial Act should be excluded from the date this order issues to and including May 5, 2017, under

      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       1
30    STATUS CONFERENCE
              Case 2:13-cr-00406-TLN Document 91 Filed 04/27/17 Page 2 of 3


 1 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare] and General Order 479, Local Code

 2 T4, based on continuity of counsel and defense preparation.

 3          Counsel and the defendants [Simpson and Bastin] also agree that the ends of justice served by the

 4 Court granting the requested continuance outweigh the best interests of the public and the defendants in

 5 a speedy trial.

 6                                                      Respectfully submitted,

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 8 Dated: April 26, 2017                                _/s/ Timothy H. Delgado___________
                                                        TIMOTHY H. DELGADO
 9                                                      Assistant United States Attorney
                                                        Attorney for Plaintiff United States of America
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11 Dated: April 26, 2017                                _/s/ THD for Michael Petrik, Jr._____
                                                        MICHAEL PETRIK, JR.
12                                                      Attorney for Defendant Rod Simpson
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14 Dated: April 26, 2017                                _/s/ THD for Shari G. Rusk_________
                                                        SHARI G. RUSK
15                                                      Attorney for Defendant Sarah Bastin
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE      2
30    STATUS CONFERENCE
               Case 2:13-cr-00406-TLN Document 91 Filed 04/27/17 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court finds that the ends of justice

 6 are served by granting the requested continuance and outweigh the best interests of the public and the

 7 defendants in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, up to and including May 5,

 9 2017, shall be excluded from computation of time within which the trial in this case must be commenced
10 under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time for

11 counsel to prepare] and General Order 479 (Local Code T4). It is further ordered that the April 28, 2017

12 status conference shall be continued until May 5, 2017, at 9:00 a.m.

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     Dated: April 27, 2017
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE         3
30    STATUS CONFERENCE
